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                    Nos. 24-3060, 24-3061, 24-3062, 24-3063 (consol.)

                                    IN THE
                        UNITED STATES COURT OF APPEALS
                           FOR THE SEVENTH CIRCUIT

    CALEB BARNETT, BRIAN NORMAN,             )    Appeal from the United States
    HOOD’S GUNS & MORE, PRO GUN              )    District Court for the Southern
    AND INDOOR RANGE, and                    )    District of Illinois
    NATIONAL SHOOTING SPORTS                 )
    FOUNDATION, INC.,                        )
                                             )
                 Plaintiffs-Appellees,       )
                                             )
          v.                                 )    No. 3:23-cv-00209-SPM
                                             )
    KWAME RAOUL, Attorney General of         )
    the State of Illinois, and BRENDAN F.    )
    KELLY, Director of the Illinois State    )
    Police,                                  )    The Honorable
                                             )    STEPHEN P. McGLYNN,
                 Defendants-Appellants.      )    Judge Presiding. 1

               STATE DEFENDANTS-APPELLANTS’ MOTION FOR
                    EXTENSION OF TIME TO FILE BREIF

         State Defendants-Appellants Illinois Attorney General Kwame Raoul, Illinois

State Police Director Brendan F. Kelly, and Illinois Governor JB Pritzker move this

court for a 31-day extension of time, from Friday, June 27, 2025, to Monday, July 28,

2025, to file their reply brief in this appeal. The attached declaration is submitted in




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 Together with Harrel v. Raoul, No. 24-3061; Langley v. Kelly, No. 24-3062; and
Federal Firearms Licensees of Illinois v. Pritzker, No. 24-3063.
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support of this motion.

                                             Respectfully submitted,

                                             KWAME RAOUL
                                             Attorney General
                                             State of Illinois

                                     By:     /s/ Megan L. Brown
                                             MEGAN L. BROWN
                                             Assistant Attorney General
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                                      DECLARATION

       I, Megan L. Brown, state the following:

       1.       I am a citizen of the United States over the age of 18. My current

business address is 115 South LaSalle Street, Chicago, Illinois 60603. I have personal

knowledge of the facts set forth in this declaration. If called upon, I could

competently testify to these facts.

       2.       I am an Assistant Attorney General in the Civil Appeals Division of the

Office of the Attorney General of the State of Illinois, and I have been assigned to

draft the reply briefs for the State Defendants-Appellants before this court in the

appeals docketed as Barnett v. Raoul, No. 24-3060; Harrel v. Raoul, No. 24-3061;

Langley v. Kelly, No. 24-3062; and Federal Firearms Licensees of Illinois v. Pritzker,

No. 24-3063.

       3.       The State Defendants-Appellants’ reply brief is due by June 27, 2025,

on no extensions of time. This is the State Defendants-Appellants’ first request for

an extension of time to file this brief.

       4.       This motion is being filed at least seven days before the reply brief’s due

date, as required by 7th Cir. R. 26.

       5.       I will be unable to draft the reply brief for State Defendants-Appellants

in this appeal, have it reviewed through the review process of the Civil Appeals

Division and the Solicitor General’s Office, finalize it, and file it with this court by

June 27, 2025, for the following reasons.
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      6.       On June 24, 2025, I am scheduled to present oral argument on behalf of

Respondent Illinois Educational Labor Relations Board in Bd. of Trs. of Ill. State.

Univ. v. Ill. Educ. Lab. Rels. Bd., No. 4-24-0936, in the Illinois Appellate Court,

Fourth District. The case deals with an order of certification and the meaning of

certain words in the Illinois Educational Labor Relations Act. Preparation for oral

argument is currently a priority in my work schedule because oral argument has

already been scheduled.

      7.       Additionally, in order to competently draft the reply brief in this case, I

must address four merits briefs and four amicus briefs together totaling over 200

pages in length, which exceeds the length of response briefs in typical cases.

      8.       Finally, based on this court’s oral argument calendar, extending the

time in which Defendants-Appellants have to file the reply brief in this case would

provide no obstacle for this courts’ scheduling of oral argument during the

September 2025 session.

      9.       On June 18, 2025, I gave notice to Erin Murphy, Matthew Rowen,

Nicholas Aquart, and Andrew Lothson, counsel for the Barnett plaintiffs; David G.

Sigale and William V. Bergstrom, counsel for the Harrel plaintiffs; Thomas G. Maag,

counsel for the Langley plaintiffs; and Sean Brady, counsel for the Federal Firearms

Licensees of Illinois plaintiffs that I would be filing a motion for a 31-day motion for

extension of time. These attorneys do not object to this request.

      10.      I do not request this extension of time from June 27, 2025, to July 28,

2025, to file the reply brief in this appeal for purposes of delay, but so that I may try




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to meet my professional responsibilities, properly represent my clients, and provide

this court with a thorough brief in this case.

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge, information, and belief.

      Executed on June 19, 2025.

                                                 /s/ Megan L. Brown
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                   CERTIFICATE OF FILING AND SERVICE

      I hereby certify that on June 19, 2025, I electronically filed the foregoing State
Defendants-Appellants’ Motion for Extension of Time to File Brief with the Clerk of
Court for the United States Court of Appeals for the Seventh Circuit by using the
CM/ECF system.

      I certify that the other participants in this appeal, named below, are CM/ECF
users and will be served by the CM/ECF system.

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